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      MCCARTHY, KELLY SCHROEDER, WILLIAM CLARK and JOHN WHITNEY
12
13
14                                 UNITED STATES DISTRICT COURT
15                            EASTERN DISTRICT OF CALIFORNIA
16
17    LATEACHEEAH G. ANDERSON                          Case No.: CIV S-04-0163 WBS GGH
      SALVATTO, and RICHARD SALVATTO,
18    individually and as guardians for JAMAL          ACKNOWLEDGMENT           OF
      THROWER, a minor                                 SATISFACTION OF JUDGMENT
19
                     Plaintiffs,
20
      vs.
21
      COUNTY OF SOLANO, CITY OF
22    VALLEJO, COUNTY OF SOLANO
      SHERIFF’S      DEPARTMENT,
23    LIEUTENANT LIDDICOET, OFFICER K.
      M CCARTHY, VALLEJO POLICE
24    DEPARTMENT, WATCH COMMANDER
      K. SCHROEDER, CORPORAL B. CLARK,
25    OFFICER WHITNEY,
26                   Defendants.
                                               /
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                          ACKNOW LEDGM ENT OF SATISFACTION OF JUDGM ENT
      00639573.WPD
     Case 2:04-cv-00163-WBS-GGH Document 85 Filed 01/08/09 Page 2 of 3


 1            WHEREAS, a judgment was entered in favor of Defendants CITY OF VALLEJO,
 2    THOMAS LIDDICOET, KEVIN MCCARTHY, KELLY SCHROEDER, WILLIAM
 3    CLARK and JOHN WHITNEY in the sum of $5,655.66 on August 21, 2007, against
 4    Plaintiffs LATEACHEEAH G. ANDERSON SALVATTO, and RICHARD SALVATTO,
 5    in the Office of the Clerk of the United States District Court for the Eastern District of
 6    California. An Abstract of Judgment was recorded with the County of Solano under Doc #
 7    200800097401.
 8            WHEREAS, the Judgment has been fully satisfied by the Plaintiffs/Debtors in the
 9    amount of $5,655.66.
10            THEREFORE, the Clerk of the United States District Court, Eastern District of
11    California, is hereby requested to satisfy and cancel the Judgment of record.
12
13    Dated: January 8, 2009                    PORTER SCOTT
                                                A PROFESSIONAL CORPORATION
14
15
                                         By:     /s/ John R. Whitefleet
16                                              Terence J. Cassidy
                                                John R. Whitefleet
17                                              Attorneys for Defendants
                                                CITY OF VALLEJO, THOMAS LIDDICOET,
18                                              KEVIN MCCARTHY, KELLY SCHROEDER,
                                                WILLIAM CLARK and JOHN WHITNEY
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                         ACKNOW LEDGM ENT OF SATISFACTION OF JUDGM ENT
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     Case 2:04-cv-00163-WBS-GGH Document 85 Filed 01/08/09 Page 3 of 3


 1    Case Name: Salvatto, et al. v. County of Solano, et al.
      Case No.:  USDC EDCA No. CIV S-04-0163 WBS GGH
 2
 3                                DECLARATION OF SERVICE
 4           I am a citizen of the United States and employed in Sacramento County,
      California; I am over the age of 18 years and not a party to the within action; my business
 5    address is 350 University Avenue, Suite 200, Sacramento, California 95825.
 6            On the date below I served the attached:
 7    ACKNOWLEDGMENT OF SATISFACTION OF JUDGMENT
 8     XX BY MAIL: I caused such envelope with postage thereon fully prepaid to be
          placed in the United States mail at Sacramento, California.
 9
              BY PERSONAL SERVICE: I caused such document to be delivered by hand to
10            the office of the person(s) listed above.
11            BY OVERNIGHT DELIVERY: I caused such document to be delivered by
              overnight delivery to the office of the person(s) listed above.
12
              BY FACSIMILE: I caused such document to be transmitted by facsimile
13            machine to the office of the person(s) listed above.
14    addressed as follows:
15
      LaTeacheeah G. Anderson Salvatto and
16    Richard Salvatto
      1114 Vervais Avenue
17    Vallejo, CA 94591
18          I declare under penalty of perjury that the foregoing is true and correct and was
      executed on January 8, 2008, in Sacramento, California.
19
                                                           /s/ Ramina Nurullina
20                                                            Ramina Nurullina
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                         ACKNOW LEDGM ENT OF SATISFACTION OF JUDGM ENT
      00639573.WPD
